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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :    Chapter 11
                                                       :
Aralez Pharmaceuticals US Inc., et al.,1               :    Case No. 18-12425 (MG)
                                                       :
                           Debtors.                    :    (Jointly Administered)
-------------------------------------------------------x

    ORDER GRANTING BANK OF AMERICA, N.A.’S MOTION FOR RELIEF FROM
                       THE AUTOMATIC STAY

        Upon the motion2 of Bank of America, N.A. (“BANA”), pursuant to Bankruptcy Code

Section 362 for relief from the automatic stay, to permit application of funds on deposit with

BANA, which funds serve as cash collateral (“Cash Collateral Account”), specially designated to

secure indebtedness incurred by Debtor in connection with Debtor’s Landlord Witman

Properties, LLC, as beneficiary (“Landlord”), drawing on a certain Standby Letter of Credit

issued by BANA to Landlord.



                                   [Remainder of page intentionally left blank]




1
        The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal taxpayer
        identification number and/or its equivalent are as follows: Aralez Pharmaceuticals Holdings Limited
        (5824); Aralez Pharmaceuticals Management Inc. (7166); POZEN Inc. (7552); Aralez Pharmaceuticals
        Trading DAC (1627); Aralez Pharmaceuticals US Inc. (6948); Aralez Pharmaceuticals R&D Inc. (9731);
        Halton Laboratories LLC (9342). For purposes of these chapter 11 cases, the Debtors’ mailing address is
        Aralez Pharmaceuticals, c/o Prime Clerk LLC, P.O. Box 329003, Brooklyn, NY 11232.

2       Capitalized terms used but not defined herein have the meanings given to them in the Motion.
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       IT IS HEREBY ORDERED that the automatic stay is lifted as to BANA authorizing

BANA to apply the total amount of funds held in Deposit Account Number xxxxxxxxxx3891 to

the outstanding indebtedness due under the Standby Letter of Credit as expressly provided for in

the Security Agreement between Debtor and BANA and as permitted by the New Jersey

Uniform Commercial Code.

IT IS SO ORDERED.
Dated: December 14, 2018
       New York, New York

                                            _____/s/ Martin Glenn_______
                                                   MARTIN GLENN
                                            United States Bankruptcy Judge




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